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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


  CHRISTOPHER FEDERLINE,

        Plaintiff,

  v.                                                CASE NO.: 8:12-cv-2841-T-23TBM

  BRITNEY JEAN SPEARS, et al.,

        Defendant.
  ____________________________________/


                                         ORDER

        For the reasons stated in Romano v. Kardashian, No. 8:12-cv-1330 (M.D. Fla.

  June 15, 2012), Romano v. Kardashian, No. 6:12-cv-908 (M.D. Fla. June 18, 2012),

  and Jolie v. Pitt, 8:12-cv-1357-T-23TBM (M.D. Fla. June 19, 2012), this action is

  DISMISSED WITH PREJUDICE. The clerk is directed to (1) deny the motion

  (Doc. 1) for a temporary restraining order and (2) close the case.

        ORDERED in Tampa, Florida, on December 20, 2012.
